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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov

IN RE:

SENIOR CARE LIVING VII, LLC,                                 CASE NO. 8:22-bk-00103
                                                             Chapter 11
         Debtor.
                                                     /

         APPLICATION TO EMPLOY MICHAEL C. MARKHAM OF JOHNSON
          POPE BOKOR RUPPEL & BURNS LLP AS COUNSEL TO DEBTOR

         The Debtor, SENIOR CARE LIVING VII, LLC, by its undersigned counsel, hereby

applies to this Court for approval of employment of counsel and respectfully states as follows:

         1.    The Debtor filed its Voluntary Petition under Chapter 11 of the Bankruptcy Code

on January 10, 2022 (“Petition Date”).

         2.    The Debtor has selected Michael C. Markham of the law firm of Johnson, Pope,

Bokor, Ruppel & Burns, LLP (“JP”) to assist it. The Debtor decided to employ JP for its

considerable bankruptcy experience and believes that JP is well qualified to represent it in this

case as counsel.

         3.    Per the Markham Declaration, attached hereto as Exhibit A, JP does not hold or

represent any interest adverse to any interest of the Debtor or its creditors with respect to the

matters upon which it is to be engaged, and JP is a “disinterested person” pursuant to Bankruptcy

Code § 327(a), as that term is defined by Bankruptcy Code § 101(14).

         4.    JP will render all necessary legal services to the Debtor in this bankruptcy case.

         5.    JP will charge for services rendered on an hourly basis, and for reimbursement for

reasonable expenses incurred in connection with performing such services. Such compensation

will be paid, and expenses will be reimbursed, solely upon application to this Court and upon
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such notice and hearing as provided by the Bankruptcy Code and the Bankruptcy Rules. Mr.

Markham’s current hourly rate is $450.

        WHEREFORE, the Debtor respectfully requests the entry of the Order authorizing it to

retain Michael C. Markham of JP as its general bankruptcy counsel and for such other relief as is

just.

                                     JOHNSON, POPE, BOKOR, RUPPEL & BURNS, LLP

                                     /s/ Michael C. Markham
                                     Michael C. Markham (FBN 0768560)
                                     Email: Mikem@jpfirm.com
                                     401 E. Jackson St., Suite 3100
                                     Tampa, FL 33602
                                     Telephone: 813-225-2500
                                     Facsimile:     813-223-7118
                                     Attorneys for Debtor


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing has been furnished electronically

on all CM/ECF participants this 10th day of January, 2022.

                                             /s/ Michael C. Markham
                                            Michael C. Markham
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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
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IN RE:

SENIOR CARE LIVING VII, LLC,                                     CASE NO. 8:22-bk-00103
                                                                 Chapter 11
         Debtor.
                                                       /

                        DECLARATION OF MICHAEL C. MARKHAM

         MICHAEL C. MARKHAM, hereby declares under penalty of perjury as follows:

         1.    I am MICHAEL C. MARKHAM and I am a shareholder/partner in the Tampa-

Clearwater-St. Pete law firm of Johnson, Pope, Bokor, Ruppel & Burns LLP (hereinafter “JP”).

         2.    I have read the Application to Employ Counsel and the facts and matters

contained in the Application are true and correct to the best of my information, knowledge and

belief. JP is proposed counsel for Debtor, Senior Care Living VII, LLC (“SCL VII”).

         3.    This Declaration is submitted in order to comply with 11 U.S.C. §328(a) and

§329(a) and Bankruptcy Rules 2014 and 2016.

         4.    JP consulted SCL VII and its principal, Mark Bouldin, prior to the bankruptcy

filing only in connection with advice and preparations for this bankruptcy filing and relating to

pending litigation involving the bond trustee/secured lender, UMB Bank, N.A.

         5.    No attorney in JP is a general or limited partner of a partnership in which the

Debtor is also a general or limited partner. Moreover, JP has no corporate connections to the

Debtor of any kind.

         6.    No attorney in JP has represented a financial advisor of the Debtor in connection

with the offer, sale, or issuance of a security of the Debtor.
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       7.       My office has done a conflict check in these cases as follows:

                I have reviewed the list of creditors provided by the Debtor, and my staff has

completed our regular office procedures in connection with conflict checks. These procedures

have not revealed any conflicts in connection with this case, and this lack of conflict is further set

forth below.

       8.       No attorney in JP currently represents a creditor or person otherwise adverse to

the Debtor or its estate on any matter related to the Debtor or otherwise.

       9.       No attorney in JP has previously represented a creditor or person who is adverse

to the Debtor or its estate on any matter substantially related to this bankruptcy case.

       10.      As disclosed above, Bouldin is the principal of the Debtor and the signatory on

the petition.   JP has not represented Bouldin in any pending litigation and will not be

representing Bouldin or any affiliates of the Debtor in connection with this bankruptcy case.

       11.      There is no agreement of any nature as to the sharing of any compensation to be

paid to JP.

       Michael C. Markham hereby declares under penalty of perjury under the laws of the
United States that the matters set forth above are true and correct.



Dated: January 10, 2022
                                                        ________________________
                                                        Michael C. Markham




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